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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
OFFICE OF THE CLERK


MEMORANDUM
DATE:      April 9, 2019

TO:        Counsel of Record

FROM:      Susan Simms, Courtroom Deputy to
           U.S. District Judge M. Casey Rodgers

RE:        Conference Call Instructions

           IN RE: 3M Combat Arms Earplug Products Liability Litigation
           MDL Case # 3:19-md-2885-MCR/GRJ

Pursuant to Pretrial Order No. 2, ECF No. 3 , entered in the above case, I am providing the following
conference call instructions necessary to connect to AT&T Reservationless Conferencing for the Initial
Case Management Conference scheduled on Wednesday, April 17, 2019 @ 9:00 a.m. Central
(10:00 a.m. Eastern) before Judge M. Casey Rodgers. Please note that these instructions will be
used in all future court proceedings and/or telephone conference calls in this MDL action, unless
otherwise directed.

Please dial into the conference call at least 10 minutes prior to the scheduled hearing time shown
above to allow extra time for testing the microphones to ensure that we can all hear each other. I will
be dialing into the conference call as the host. It is advised that you use a land line phone if possible,
cell phone connections are sometimes inaudible.

•       To connect to the conference call please dial: 1-888-684-8852
•       You will be prompted for the access code which is: 8296522
•       Once the host has connected, you will be prompted for the security code which is: 3192885

Please feel free to contact me at (850) 470-8125 or Susan_Simms@flnd.uscourts.gov in advance of
the hearing, should you have questions. However, if you encounter problems connecting to the call at
the time of the hearing, please contact the Clerk's Office at 850/435-8440 and someone will relay a
message to me (since I will be present at the hearing). Thank you.
